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                    Exhibit R
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                                                              U.S. Department of Justice


                                                              United Stales Attorney
                                                              District of New Jersey

Chrutop/n,r J. Kell)'                                         970 lJrr,ad St/'e#I, Suite 100   Plwnc:     973-6,fJ-6/f}
A1Uls/ti11I United Srates Auorne:,,                           Newark, New .krsey 07102         Fax.       973-291-JfHJ


                                                              August 27, 2012

Via First Class Mail
Lawrence S. Lustberg, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102-5310

                                      Re:   Tiger Asia Management.LLC


Dear Mr. Lustberg:

      This letter sets forth the plea agreement between your client, Tiger Asia Management,
LLC ("Tiger Asia") and the United States Attorney for the District of New Jersey ("this Office").

Charge

         Conditioned on the understandings specified below, this Office will accept a guilty plea
from Tiger Asia to a one-count Information that charges it with wire fraud in violation of Title
 18, United States Code, Section 1343. If Tiger Asia enters a guilty plea and is sentenced on this
charge, and otherwise fully complies with all of the terms of this agreement, this Office will not
initiate any further criminal charges against Tiger Asia. any officers. employees or affiliates
thereof, relating to Tiger Asia's participation in December 2008 and January 2009 in offerings of
stock in China Construction Bank Corporation ("CCB") and Bank of China Limited ("BOC").
However, in the event that a guilty plea in this matter is not entered for any reason or the
judgment of conviction entered as a result of this guilty plea does not remain in full force and
effect, Tiger Asia agrees that any dismissed charges and any other charges that are not time­
barred by the applicable statute of limitations on the date this agreement is signed by Tiger Asia
may be commenced against it, notwithstanding the expiration of the Ii mitations period after Tiger
Asia signs the agreement,

Sentencing

        The violation of 18 U.S, C. § 13 43 to which Tiger Asia agrees to plead guilty carries a
statutory maximum fine equaJ to the greatest of: (l) $500,000; (2) twice the gross amount of any
pecuniary gain that arty persons derived from the offense; or (3) twice the gross amount of any
pecuniary loss sustained by any victims of the offense. Fines imposed by the sentencing judge
may be subject to the payment of interest.


                                                                                                        GOVERNMENT
                                                                                                          EXHIBIT
                                                                                                           2703
                                                                                                         22 Cr. 2-40 (AKI-I)




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            The sentence to be imposed upon Tiger Asia is within the sole discretion of the
    sentencing judge. subject to the provisions of the Sentencing Refonn Act, 18 U.S.C. §§ 3551-
•• ·:3742, and.fhe seniencfog]udge;icoiisfcieranoii-ot"llie�UnHed· States-Seritendng diiideiines�-The
    United States Sentencing Guidelines are advisory, not mandatory. The sentencingjudge may
    impose any reasonable sentence up to and including the statutory maximum tenn of probation
    and the maximwn statutory fine. This Office cannot and does not make any representation or
    promise as to what guideline range may be found by the sentencing judge, or as to what sentence
    Tiger Asia ultimately will receive.

         Further, in addition to imposing any other penalty on Tiger Asia, the sentencing judge:
 (J) will order Tiger Asia to pay an assessment of $400 pursuant to 18 U.S.C. § 3013, which
 assessment must_ be paid by the date of sentencing; (2) may order Tiger Asia to pay restitution
 pursuant to 18 U.S.C. §§ 3663 et�- and U.S. Sentencing Guideline 8B1.1; (3) may order Tiger
 Asia, pursuant to 18 U.S.C. § 3555, to give notice to any victims of its offense; and (4) pursuant
 to 18 U.S.C. § 3561, may require Tiger Asia to serve a term of probation of not l�ss than one (I)
 year, but not more than five (5) years.

 Forfeiture

          Tiger Asia agrees that as part of its acceptance of responsibility and pursuant to J 8
 U .S .C. § 982, Tiger Asia will consent to the entry ofa: forfeiture money judgment in the amount
 of $16,257,918 in United States currency (the "Forfeiture Money Judgment"). Tiger Asia
 acknowledges that the Forfeiture Money Judgment is subject to forfeiture as property
 constituting, or derived from, proceeds obtained directly or indirectly, from a violation oft 8
 U.S.C. §1343, and/or constitutes a substitute asset pursuant to 21 U.S.C. § 853.

         Payment of the Forfeiture Money Judgment shall be made by certified or bank check,
 with the criminal docket number noted on the face of the check, payabJe to the United States
 Marshals Service. On or before the date Tiger Asia enters a plea of guilty pursuant to this
 agreement, Tiger Asia shall cause said check tQ be hand-delivered to the Asset Forfeiture and
 Money Laundering Unit, United States Attorney's Office, District of New Jersey, 970 Broad
 Street, Newark, New Jersey 07102.

         Tiger Asia agrees to waive all interest in the Forfeiture Money Judgm ent in any
 administrative or judicial forfeiture proceeding. whether criminal or civil, state orfederal. Tiger
 Asia agrees to consent to the immediate entry of orders of forfeiture for the Forfeiture Money
 Judgment and waives the requirements of Rules 32.2 and 43(a) of the Federal Rules of Criminal
 Procedure regarding notice of the forfeiture in the charging instrument, announcement of the
 forfeiture at sentencing, and incorporation of the forfeiture in the judgment. Tiger Asia
 understands that the forfeiture of the Forfeiture Money Judgment is part of the sentence that may
 be imposed in this case and waives any failure by the court to advise Tiger Asia of this pursuant
 to Rule 1 J (b){l)(J) of the Federal Rules of Criminal Procedure at the guilty plea proceeding.



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            Tiger Asia hereby waives any and all claims that this forfeiture constitutes an excessive
    fine and
·--· . .  .
              agrees that this forfeiture does not violate
             ... ._...... . .. ····· ···,· . .- ... . ·· ···- - ·- ··· .. -- --,..... ,.. ..
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                                                                                                      the Eighth      ... ..- -
                                                                                                  - ·•.·- .. . . . . .�
                                                                                                                                Amendment.
                                                                                                                                 . . . ._. . .... ...... . . .


  Rights ofThis Office Regarding Sentencing

           Except as otherwise provided in this agreement, this Office reserves its right to take any
   position with respect to the appropriate sentence to be imposed on Tiger Asia by the sentencing
  judge, to correct any misstatements relating to the sentencing proceedings, and to provide the
  sentencing judge and the United States Probation Office all law and information relevant to
  sentencing, favorable or otherwise. In addition, this Office may inform the sentencing judge and
  the United States Probation Office of: (1) this agreement; and (2) the full nature and extent of
  Tiger Asia's activities and relevant conducrwith respect to this case.

  Stipulations

              This Office and Tiger Asia agree to stipulate at sentencing to the statements set forth in
  the attached Schedule A, which hereby is made a part of this plea agreement. This agreement to
  stipulate, however, cannot and does not bind the sentencing judge, who may make independent
  factual findings and may reject any or all of the stipulations entered into by the parties. To the
  extent that the parties do not stipulate to a particular fact or legal conclusion, each reserves the
  right to argue the existence of and the effect of any such fact or conclusion upon the sentence.
  Moreover, this agreement to stipulate on the part of this Office is based on the information and
  evidence that this Office possesses as of the date of this agreement. Thus, if this Office obtains
  or receives additional evidence or information prior to sentencing that it determines to be
  credible and to be materially in conflict with any stipulation in the attached Schedule A, this
  Office shall not be bound by any such stipulation. A determination that any stipulation is not
  binding shall not release either this Office or Tiger Asia from any other portion of this
  agreement, including any other stipulation. If the sentencing court rejects a stipulation, both
  parties reserve the right to argue on appeal or at post�sentencing proceedings that the sentencing
  court was within its discretion and authority to do so. These stipulations do not restrict the
  Government's right to respond to questions from the Court and to correct misinformation that
  has been provided to the Court.

  Waiver of Appeal and Post-Sentencing Rights

           As set forth in Schedule A, this Office and Tiger Asia waive certain rights to file an
   appeal, collateral attack, writ, or motion after sentencing, including but not limited to an appeal
   under 18 U.S.C. § 3742 or a motion under 28 U.S.C. § 2255.

   Qther Provisions

           This agreement is limited to the United States Attorney's Office for the District of New
   Jersey and cannot bind other federal, state, or local authorities. However, this Office will bring
   this agreement to the attention of other prosecuting offices, if requested to do so.
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          This agreement was reached without regard to, uny civi l or administrative matters that
may be pending or commenced in the future against Tiger Asia, This agreement does not
            United :States, arty agency thereof'.
proh ib it . the .                             (incl uarng:lfotiiot lirnHed to·
                                                                              llieSecurities"'arid
Exchange Commi ssi on), or any third party from initi ating or prosecuting any civil or
admini strative proceeding against Tiger Asia.

No Other Promises
        This agreeme11t constilutes the p lea agreement between Tiger Asia and this Office and
supersedes any previous agreements between them. No additionaJ promises, agreements. or
condi tions have been made or wi ll be made unless set forth in writ i ng and signed by the parties.


                                                               Very truly yours ,

                                                               PAU L J . FI S HMAN


                                                              �?P
                                                               By : Chris,�
                                                               Assistant U , S . Attorney




APPRO VED:




J    ' th H. Germano
    ief, Economic Crimes Unit




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           �. My attorney and t have disctlSSC'I the letter aod all afks provisions, indudiog the
          proviaiom addM.mng the chargel � tM ...... waiver� and �
           consequences. I understand ht letter ilff:y. I hereby-Mcapt the fenns tuld condifiOIIS tel iJt1h. in
           this letter and acknowledge that it conscitutea 11\e. plea agreement between the pmtia J
           � that no additional promises, agieemeat,s. or conditions have been made or will be
           made unless set forth. in writing and siped t,y the partiel. bl my capacity • Oened1 Uaa 1r of
           Tiger Asia, I am authorized to --, Del do ttate,, that Tipr Asia wants to plead piJty purJUd
           to this plea agreement.


     AOREED AND ACCEPTED:




     Sung        Hwang. Oenerel
     for end on behalf of
     Tiger Asia Management. LLC


            I have discussed with my client this Jetterand .U ofm provifions, inclucfina die
     provisions addresslng the charge. � die � 'Ml'iv«, am fotfeimft
     COt1SOqUGneeS. My client understands the letter fufty and \\1IB1S to � guilty �-to du
     plea agreement.




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                       PleaAgreement With Tiger Asia Management, LLC

                                             sctieduie-A
        I.     This Office and Tiger Asia Management. LLC ("Tiger Asia..) recognize that the
United States Sentencing Guidelines ("U.S.S.G.") are not binding upon the Court. This Office
and Tiger Asia nevertheless agree to the stipulations set forth herein, and agree that the Court
should sentence Tiger Asia in accordance with those stipulations.

        2.      The version of the United States Sentencing Guidelines effective November 1,
201 1 applies in this case. The applicable guideline is U.S.S.G. § 8A1.1. The parties agree that
the Court shou)d determine what, if any, sentence requirements should be imposed under
U.S.S.G. § 8AI.2, including restitution, remedial orders, community service, and notice to
victims.

       3.      The parties agree that Tiger Asia did not operate primarily for a criminal purpose
or primarily by criminal means. See U.S.S.G. §§ 8Al .2(b)(1), 8C J.I.

       4.       The parties further agree that, in light of Tiger Asia's agreement to forfeit the
proceeds of its criminal conduct and its pending agreement with the United States Securities and
Exchange Commission to pay penalties and' interest, the parties will jointly recommend that the
Court waive the imposition of a fine.

       5.     Tiger Asia agrees that a tenn of probation of at least one year is necessary and
reasonable. See U.S.S.G. § 8D1. l (a).

        6.       If the sentencing.court accepts a stipulation set forth above, both parties waive the
right to file an appeal, collateral attack, writ, or motion claiming that the sentencing court erred in
doing so. Otherwise, both parties reserve the right to file, oppose, or take any position in any
appeal, collateral attack, or proceeding involving post-sentencing motions or writs.




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